           Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 1 of 40




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

JEFFREY M. POPPEL, on his own
behalf and on behalf of all others
similarly situated,

                     Plaintiffs,              No.

      v.

THE ROCKEFELLER INSTITUTE,
a.k.a. THE ROCKEFELLER
UNIVERSITY, a.k.a. THE
ROCKEFELLER UNIVERSITY
HOSPITAL; THE ROCKEFELLER                     JURY TRIAL DEMANDED
UNIVERSITY; THE ROCKEFELLER
UNIVERSITY HOSPITAL; and THE
ROCKEFELLER FOUNDATION,

                     Defendants.


                              ORIGINAL COMPLAINT

      Jeffrey M. Poppel, on his own behalf and on behalf of all others similarly

situated, files this Complaint against The Rockefeller Institute, a.k.a. The

Rockefeller University, a.k.a. The Rockefeller University Hospital, The Rockefeller

University, The Rockefeller University Hospital, and The Rockefeller Foundation

(collectively “Rockefeller” or “Hospital”) and alleges as follows:

I.    INTRODUCTION

      1.       This is a civil action to recover damages on behalf of Plaintiff and a
             Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 2 of 40




class of similarly situated individuals who have been harmed by sexual abuse,

perpetrated over the span of forty years, by Dr. Reginald Archibald (“Archibald”),

and most recently by the transmission and receipt of a highly offensive, and extreme

and outrageous correspondence directed at them for no purpose other than to benefit

the entity that for four decades employed their perpetrator.

        2.       Beginning in the 1940s through the late 1980s, Archibald was

employed as a pediatric endocrinologist at Rockefeller.

        3.       By its own account, Defendant Rockefeller has been a preeminent

research facility, with an international reputation for excellence since its opening in

1910.

        4.       Over his career, Archibald had more than 9,000 patients, many of

whom were boys who were small for their age, and who for various reasons were

unable to grow to what medical professionals consider a “normal” size.

        5.       Throughout his career, Archibald molested and sexually abused at least

hundreds, but more likely thousands of patients. He did so using his office and

examination rooms at Defendant Rockefeller’s facilities. Archibald also took nude

and pornographic photos of his victims and kept them at Rockefeller’s facility. Upon

information and belief, Rockefeller staff members were aware of the photographs

and his conduct for many years, and remained silent regarding same.



                                            2
           Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 3 of 40




      6.       Archibald stole something innocent, and sensitive, and sacred from

every child he abused.

      7.       Defendant Rockefeller investigated and found credible allegations of

sexual abuse by Archibald at the latest in 2004, when Archibald was still living.

      8.       Archibald died in 2007.

      9.       Recently, in anticipation of litigation following what it knew was the

likely passage of the Child Victims Act, S2440, Defendant Rockefeller re-engaged a

law firm to investigate and reach out to individuals who were likely abused by

Archibald, and who were of course potential plaintiffs.

      10.      As a part of its investigation and attempt to mitigate its liability,

Defendant Rockefeller mailed a correspondence (“Letter”) to at least 1,000 former

patients of Archibald. The Letter indicated that Rockefeller believed the recipient

may have been the victim of inappropriate conduct by Archibald and included

contact information for a lawyer and law firm—although the Letter did not identify

them as such, nor did the Letter inform the recipients what uses their information

would be put to.

      11.      Predictably, the Letter reopened wounds and re-traumatized

Archibald’s victims, causing severe emotional distress and invading their privacy.




                                          3
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 4 of 40




II.    JURISDICTION AND VENUE

       12.   This Court has subject matter jurisdiction over Mr. Poppel’s individual

claims pursuant to 28 U.S.C. § 1332(a) because complete diversity exists among the

parties and the amount in controversy exceeds $75,000.

       13.   This Court also has subject matter jurisdiction over Plaintiffs’ class

claims pursuant to 28 U.S.C. § 1332(d) because complete diversity exists among the

parties and the amount in controversy exceeds $5,000,000.

       14.   This Court has personal jurisdiction over Defendant Rockefeller

because it is a citizen of the State of New York, and the acts that form the basis for

this Complaint occurred, in substantial part, in the State of New York.

       15.   Venue is proper in this District under 28 U.S.C. § 1391(b) and (c)

because Defendant resides in this District and a substantial part of the acts or

omissions that give rise to this action occurred in this District.

       16.   Upon information and belief, less than one third of the members of the

putative class reside in the State of New York.

III.   PARTIES

       17.   Plaintiff Jeffrey M. Poppel (“Mr. Poppel”) is a citizen and resident of

the State of Florida.

       18.   Defendant The Rockefeller Institute is located at 1230 York Ave., New



                                           4
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 5 of 40




York, New York 10065.

      19.     Defendant The Rockefeller Institute is a domestic not-for-profit

corporation formed under and governed by the laws of the State of New York.

      20.     Defendant The Rockefeller University is located at 1230 York Ave.,

New York, New York 10065.

      21.     Defendant The Rockefeller University is a domestic not-for-profit

corporation formed under and governed by the laws of the State of New York.

      22.     Defendant The Rockefeller University Hospital is located at 1230 York

Ave., New York, New York 10065.

      23.     Defendant The Rockefeller University Hospital is a division of The

Rockefeller University. It operates under the charter of Defendant Rockefeller

University.

      24.     Defendant The Rockefeller Foundation is located at 420 Fifth Ave.,

New York, New York 10018.

      25.     Defendant The Rockefeller Foundation is a domestic not-for-profit

corporation formed under and governed by the laws of the State of New York.

      26.     Rockefeller was founded in 1910, and it was originally called “The

Rockefeller Institute Hospital.” It was a part of the Rockefeller Institute for Medical

Research, which was founded in 1901. From 1958 to 1965, the institution was called



                                          5
         Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 6 of 40




“The Rockefeller Institute,” and it has been known by its present name, the

Rockefeller University Hospital, since 1965.

      27.    Rockefeller is a world-renowned research institute funded by federal

grant money, philanthropic donations from prominent donors, royalties from

patents, and by borrowing money on the public market through the issuance of

bonds.

      28.    Rockefeller states on its website:

      Patients and volunteers who consent to participate in research studies
      (protocols) are treated without charge. Unlike most hospitals, the
      Rockefeller University Hospital does not routinely provide standard
      diagnostic and treatment services. Admission is selective: patients are
      chosen by Hospital physicians solely because they have an illness or
      condition being studied, or because they are healthy volunteers and are
      also needed for study. Thus, all research participants are volunteers,
      and as such are important partners in the research process. Without
      volunteers and patients, significant advances in biomedical knowledge
      could not otherwise be achieved.

VI.   FACTUAL ALLEGATIONS

      A. General Allegations Pertaining to Archibald

      29.    In 1940, Rockefeller hired Archibald as a visiting investigator and

pediatric endocrinologist.

      30.    Archibald would remain at Rockefeller, with limited exceptions, until

1982. He served as an assistant resident physician from 1941 through 1946. He

returned to the Hospital as a senior physician and University professor in 1948, and


                                          6
           Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 7 of 40




remained until 1980 as a hospital-based physician. He continued to hold medical

staff privileges at the Hospital until at least 1982 and served as a senior physician

emeritus until at least 1987.

       31.     At all material times, Archibald worked for, was employed by, and

acted as an agent, employee, and servant of Rockefeller under Rockefeller’s direct

supervision, management, agency, and control.

       32.     In Defendant Rockefeller’s words, “[]Archibald studied childhood

growth and maturation, focusing on children of short stature.”1

       33.     Archibald was a preeminent pediatric endocrinologist. He was widely

considered one of the best specialists in the northeast, if not the entire United States,

for pediatric endocrinology.

       34.     Defendant Rockefeller represented to the community and to patients

that Archibald was safe, trustworthy, and of high moral and ethical repute. Implicitly

and explicitly, Defendant Rockefeller represented that Archibald was not a sexual

threat to his patients.

       35.     Archibald’s patients had no reason to suspect that Archibald was



       1
         Statement regarding Dr. Reginald Archibald from the Rockefeller
University Hospital (October 5, 2018), available at:
https://www.rucares.org/assets/file/October%205%202018%20Statement%20regar
ding%20Dr.%20Reginald%20Archibald.pdf


                                           7
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 8 of 40




anything other than a competent and ethical physician under the employ of

Rockefeller University Hospital.

      36.      Archibald treated approximately 9,000 patients during his career with

Rockefeller.

      37.      The children who sought treatment from Archibald were undersized

and had trouble growing. They were especially vulnerable. They were too young to

know the difference between a legitimate medical practice and molestation.

      38.      For more than 40 years, Archibald sexually abused his patients.

      39.      Archibald sexually abused both girls and boys.

      40.      Archibald’s victims were children. As minors, they were incapable of

consenting to sexual contact.

      41.      Archibald’s victims also were unable to terminate the doctor–patient

relationship they had with Defendants.

      42.      Archibald would require his patients to remove all clothing during

appointments.

      43.      Archibald measured his male victims’ penises, both flaccid and erect.

      44.      Archibald would masturbate his victims or ask them to masturbate,

sometimes to ejaculation. In some cases, he both asked his victims to masturbate and

masturbate them.



                                           8
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 9 of 40




      45.     Archibald took nude and sexually explicit photographs of his patients,

first with film, and later with a Polaroid camera.

      46.     He would require his victims to stand fully nude against a wall and hold

their palms out facing the camera.

      47.     Archibald also took close-up photographs of his victims’ genitals.

      48.     Defendant Rockefeller is currently in possession of nude and

pornographic photographs of Archibald’s victims.

      49.     The nude and pornographic photographs are not currently contained in

the patient files of Archibald’s victims.2 If they were contained in patient files at one

time, then Rockefeller had contemporaneous access to the photographs.

      50.     In at least one case, Archibald had a child’s parent sign a release to

permit photography of the child “for the advancement of medical science.”

      51.     At least two articles published by Archibald contain pictures of naked

boys in the stance described by his victims.

      52.     Archibald’s abuse took place in his office and the examination rooms at

Rockefeller’s facilities.



      2
        Defendant Rockefeller has acknowledged that “[f]astidiously maintaining”
the “vital data” of its patients “is the responsibility” of Rockefeller. In this regard,
Defendant Rockefeller has boasted that it “has every medical record on every patient
ever seen at the hospital, saved on microfiche, microfilm, or in original hard copy.”


                                           9
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 10 of 40




      53.    Archibald used Defendant Rockefeller’s equipment while abusing his

victims.

      54.    Upon information and belief, other Rockefeller staff members were

aware of Archibald’s sexual abuse at the time he was abusing children.

      55.    Upon information and belief, Defendant Rockefeller was aware of the

nude and pornographic photographs Archibald was taking of his victims while his

victims were still patients of the Hospital.

      56.    Archibald carried out of all of these acts under the guise of “providing

medical” care at Rockefeller University Hospital.

      57.    Archibald carried out these acts without fully explaining the

“treatment” or obtaining informed consent from his patients.

      58.    Rockefeller had the authority and the ability to prevent Archibald from

sexually abusing pediatric patients, and from taking nude and pornographic

photographs of pediatric patients, throughout Archibald’s career at Rockefeller.

      59.    Rockefeller failed to do so, and affirmatively ignored Archibald’s

abusive behavior, allowing the abuse to occur and to continue unabated.

      60.    Upon information and belief, Rockefeller never suspended, warned,

terminated, or otherwise disciplined Archibald for this heinous conduct.

      61.    Reasonably supervising Archibald and investigating him regarding his



                                          10
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 11 of 40




abusive conduct and the nude photos he took would have prevented further abuse.

      62.    Upon information and belief, this failure was a part of a conspiratorial

plan and arrangement by Rockefeller and Archibald to conceal Archibald’s wrongful

acts, to avoid and inhibit detection, to block public disclosure, to avoid scandal and

negative publicity, to avoid the disclosure of Rockefeller’s tolerance of child sexual

molestation and abuse, to preserve a false sense of propriety, and to avoid

investigation and action by public authority including law enforcement.

      63.    Such actions were motivated by a desire to protect the reputation and

monetary support of Rockefeller, while fostering an environment where such abuse

could continue to occur.

      B. Rockefeller’s Investigations of Archibald’s Conduct

      64.    On October 5, 2018, Rockefeller issued a statement indicating that it

had received a report from a former patient of Archibald’s that “related to the

propriety of [] Archibald’s conduct during physical examinations.”

      65.    Rockefeller retained a law firm, Debevoise & Plimpton LLP

(“Debevoise”) to investigate the allegations. “Following its review of then-available

information, including from interviews with former patients, faculty, administrators,

and staff, and two prior reports made in the 1990s that were located, Debevoise

found certain allegations credible and determined that it was likely that some of []



                                         11
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 12 of 40




Archibald’s behavior towards [the reporting patient in 2004] was inappropriate.”

      66.    Debevoise was, at all times during the 2004 investigation, an agent of

Defendant Rockefeller. It acted for Defendant Rockefeller’s benefit and was subject

to Defendant Rockefeller’s control.

      67.    Notably, Debevoise’s investigation turned up two prior reports made

during the 1990s. Rockefeller does not claim to have taken any action based on those

prior reports.

      68.    Upon information and belief, the “faculty, administrators, and staff”

Debevoise interviewed were former colleagues of Archibald who had knowledge of

his inappropriate conduct at or around the times it was occurring.

      69.    In its October 5, 2018 Statement, Rockefeller also indicated that it had

added a “policy relating to the further protection of pediatric patients” to “the

Hospital’s then-existing safeguards and processes designed to protect patients.”

      70.    However, Rockefeller did not explain what the newly added 2004

policy was, or what the previously existing “safeguards and processes designed to

protect patients” were.

      71.    After Debevoise’s 2004 investigation, Defendant Rockefeller believed

that allegations of Archibald’s inappropriate conduct were credible.

      72.    After Debevoise’s 2004 investigation, Defendant Rockefeller had



                                         12
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 13 of 40




reason to believe that Archibald’s conduct was widespread and consistent across his

victims.

      73.    In its October 5, 2018 Statement, Defendant Rockefeller notes that in

2004 it “notified the Federal Office of Human Research Protections, the New York

State Office of Professional Medical Conduct, and the Manhattan District Attorney.”

      74.    In 2004, however, Defendant Rockefeller did not notify potential

victims so that they could offer additional, corroborating information to the District

Attorney and testify against Archibald as part of a criminal prosecution.

      75.    Upon information and belief, Defendant Rockefeller did not notify the

United States Attorney’s Office for the Southern District of New York.

      76.    If it had notified the United States Attorney’s Office, and the United

States Attorney’s Office had prosecuted (a then living) Archibald for child

pornography, Archibald’s victims could have sought restitution as a part of the

prosecution. See 18 U.S.C. § 2259.

      77.    Another former patient came forward in early 2018 and made a report

that was similar to the report made in 2004.

      78.    At that time, Rockefeller again engaged Debevoise to investigate.

      79.    Debevoise was, at all times during the 2018 investigation, an agent of

Defendant Rockefeller—and it remains an agent of Defendant Rockefeller currently.



                                         13
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 14 of 40




It acted—and continues to act—for Defendant Rockefeller’s benefit and was subject

to Defendant Rockefeller’s control.

      80.    “[S]everal former patients . . . came forward” as a part of Debevoise’s

2018 investigation.

      81.    As it had in 2004, Debevoise concluded that the reports were credible

and that Archibald’s conduct was “inappropriate.”

      82.    As the 2004 investigation did, Debevoise’s 2018 investigation gave

Defendant Rockefeller significant reason to believe that Archibald’s conduct was

widespread throughout his career, consistent with respect to his victims, and

severely traumatic to his victims.

      C. Rockefeller’s Letter to Former Patients of Archibald

      83.    In the fall of 2018, as a part of Debevoise’s investigation into

allegations concerning Archibald’s conduct, Defendant Rockefeller sent the Letter

to more than 1,000 former patients of Archibald.

      84.    The Letter states:

      Our records indicate that, some decades ago, you may have been a
      patient at The Rockefeller University Hospital and seen by [] Reginald
      Archibald, who was at the Hospital from 1948–1982 and passed away
      in 2007. If we have contacted you in error, please disregard this letter.

      Based on reports from several former patients regarding Dr.
      Archibald’s interactions with them, we are reaching out to as many of
      his patients as we can locate. We have hired Helen Cantwell, of
      Debevoise & Plimpton LLP, to assist us with this outreach. If you have

                                         14
       Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 15 of 40




      information you would like to share regarding your interactions with []
      Archibald, please contact Helen at: (212) 909-6312 or
      hcantwell@debevoise.com.

      Thank you for your consideration.

      85.    Helen Cantwell is a lawyer—and a litigation partner—at Debevoise,

which is a prominent international law firm. The Letter does not identify Ms.

Cantwell as a lawyer, nor does it identify Debevoise as a law firm.

      86.    The Letter does not indicate what use Rockefeller will make of the

“information” that the Letter recipients might decide to “share regarding [their]

interactions with [] Archibald.”

      87.    The Letter does not promise to preserve the confidentiality of any

information former patients provide, nor does it indicate whether any information

they provide will be segregated from future litigation materials, whether personal

identifying information will be removed from their communications, or whether

their communications may be used against them in future litigation.

      88.    Anyone who received the Letter, and as a result took steps to identify

Helen Cantwell or Debevoise, could have easily seen that she was an attorney and it

was a law firm, and would have likely believed that an attorney–client relationship

existed between the recipient and Ms. Cantwell or her firm, despite the fact that no

such relationship existed.

      89.    Communications with possible victims of sexual abuse in other


                                        15
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 16 of 40




high-profile investigations have taken pains to preserve witness and victim

confidentiality. Similarly, other investigations have carefully identified investigators

as attorneys when they are attorneys.3 The purpose of such disclosures is to prevent

re-traumatization of victims. Other communications regarding mass sexual abuse

have allowed victims to come forward on their own following public, non-targeted

disclosures.

      90.      At the time Rockefeller mailed the Letter to former patients of

Archibald, New York’s statute of limitations barred any claims against the Hospital.

      91.      Upon information and belief, Rockefeller was aware that New York’s

statute of limitations barred any claims for sexual abuse against the Hospital.

      92.      Upon information and belief, Rockefeller was aware that a substantial

portion of the public is aware of the existence of various statute of limitations and

that a substantial portion of the public—including Archibald’s victims—would

believe that abuse that occurred decades ago would be time barred.

      93.      At the time Rockefeller mailed its Letter, it knew from publicly

available news reports that the New York Legislature would likely take up for

consideration, and likely pass, the Child Victims Act during its 2019 legislative



      3
        See The Ohio State University, Office of Compliance and Integrity, Strauss
Investigation, https://compliance.osu.edu/strauss-investigation.html.


                                          16
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 17 of 40




session.

         94.   Previous versions of the Child Victims Act from the 2018 session

provided for a one-year window in which any plaintiff could file a lawsuit for claims

of sexual abuse, irrespective of any other statute of limitations or whether the claims

were previously barred. Rockefeller was aware that it was likely that any version of

the Child Victims Act ultimately passed would include such a provision. In addition,

even if the look-back provision was stripped from the statute, Defendant Rockefeller

was aware that claims for many individuals under a certain age would remain under

the new legislation.

         95.   Upon information and belief, at least one purpose of Rockefeller’s

decision to send the Letter to more than a 1,000 former patients was to gather

information about potential plaintiffs in advance of litigation.

         96.   Because of its previous investigations, Rockefeller was aware that there

was a substantial likelihood that it was sending the Letter to survivors of child sexual

abuse.

         97.   Upon information and belief, Rockefeller knew that it was substantially

likely that its Letter would cause a significant number of Archibald’s former patients

to suffer immediate, long-lasting, and severe emotional distress.

         98.   Despite its awareness that it was sending its Letter to survivors of child



                                           17
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 18 of 40




sexual abuse and that its Letter would likely cause a significant number of the

Letter’s recipients to suffer severe emotional distress, Rockefeller sent the Letter

anyway.

       99.    Rockefeller’s Letter did not comply with national best practices for

investigating pervasive sexual abuse, especially pervasive childhood sexual abuse.

       100. Many victims of Archibald’s sexual abuse were reminded of the abuse

they suffered, and therefore re-traumatized by Rockefeller’s Letter.

       101. Many of the former patients who received the Letter learned of the

possibility of other victims, for the first time, in the Letter.

       102. Additionally, Rockefeller did not “obtain an authorization for any use

or disclosure of protected health information for marketing,” and the Letter was not

“a face-to-face communication or a promotional gift of nominal value.” See 45

C.F.R. § 164.508(3)(i).

       103. The Letter was not sent pursuant to any current medical evaluation,

diagnosis or treatment sought by its recipients.

       104. “Marketing” under the HIPAA Privacy Rule is defined as the making of

“a communication about a product or service that encourages recipients of the

communication to purchase or use the product or service.” 45 C.F.R. § 164.501.

       105. The Letter was a communication about a service, namely Debevoise’s



                                            18
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 19 of 40




investigation, which encouraged the Letter’s recipients to use the firm’s services.

         D. Individual Plaintiff’s Allegations

         106. Mr. Poppel was born on July 30, 1964.

         107. Mr. Poppel was born with congenital deformities of the upper

extremities.

         108. Mr. Poppel was born with short arms, club forearms, small hands, four

fingers on each hand, no kneecaps, and coloboma of the eyes.

         109. As a child, Mr. Poppel was extremely short for his age.

         110. Mr. Poppel recalls being sorted and lined up according to height when

he was in elementary school.

         111. Mr. Poppel recalls being bullied by other children because of his size.

         112. As a result, Mr. Poppel was extremely concerned about his size as a

child.

         113. Mr. Poppel grew up in northern New Jersey.

         114. As a result of his birth injuries, required medical care as a child.

         115. Part of his medical care was, in addition to routine medical care

elsewhere, specialized medical care related to his birth injuries.

         116. Mr. Poppel’s mother was referred to Rockefeller for specialized

treatment for his small stature and birth deformities.



                                            19
         Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 20 of 40




        117. Mr. Poppel was a patient at Rockefeller approximately from 1975 to

1980.

        118. On or about October 15, 1975, Mr. Poppel’s father signed two consent

forms. One stated: “I hereby consent that any routine treatment and diagnostic

procedure, which may be deemed necessary, may be performed upon my son,

Jeffrey M. Poppel.” The other stated: “I hereby give permission for photographs of

my child Jeffrey M. Poppel to be taken, only for medical and professional purposes.”

        119. Mr. Poppel had several appointments with Archibald at Rockefeller

University Hospital. Several involved traumatic sexual abuse.

        120. Mr. Poppel’s mother drove him from New Jersey to Manhattan for the

first appointment.

        121. Mr. Poppel waited with his mother in the waiting room for the first

appointment to begin.

        122. Archibald came into the waiting room to take Mr. Poppel back into the

examination room.

        123. Mr. Poppel’s mother told Archibald she wanted to accompany her son

into the examination room for the appointment.

        124. Archibald refused and told her there was no need for her to be there.

        125. He told her that a nurse would be present in the examination room.



                                         20
         Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 21 of 40




        126. Hearing this, Mr. Poppel’s mother acquiesced and allowed Archibald to

take Mr. Poppel away and into the examination room.

        127. Mr. Poppel also relied on Archibald’s assertion that since a nurse would

be in the examination room, his mother, with whom he was very close, did not need

to come into the examination room.

        128. Archibald took Mr. Poppel, alone and without his mother, to the

examination room, which was dimly lit, and locked the door behind them as they

entered.

        129. There was no nurse there. No nurse—or anyone else—was present

during Mr. Poppel’s “examination.” Mr. Poppel was alone with Archibald during the

examination.

        130. A physician’s table was against one wall, and a cold, steel-framed desk

was against the other.

        131. Upon entering the room, Archibald directed Mr. Poppel to remove all

of his clothing. Mr. Poppel complied.

        132. Archibald directed Mr. Poppel to stand against the wall. Mr. Poppel

complied.

        133. Archibald took nude photographs of Mr. Poppel standing against the

wall.



                                         21
       Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 22 of 40




      134. Archibald then took Mr. Poppel to the physician’s examination table

and put him on it.

      135. Archibald told Mr. Poppel that he needed to measure Mr. Poppel’s

penis in both flaccid and erect state. He told Mr. Poppel that he needed to measure

his penis so he could predict more accurately his future height and to determine what

medical treatment would be required to augment it.

      136. Rockefeller’s medical records for Mr. Poppel confirm that Archibald

took measurements of Mr. Poppel’s penis.

      137. Archibald then directed Mr. Poppel to masturbate. He told Mr. Poppel

to “masturbate,” but Mr. Poppel—who was approximately eleven years old at the

time—did not immediately understand. Archibald told Mr. Poppel to “touch

yourself the way you do at home or may do at home.”

      138. Archibald went on: “I need to determine your future height. To do that,

I need a semen sample.”

      139. All of this sounded just scientific enough to be plausible to an

approximately eleven-year-old boy.

      140. Archibald falsely represented to Plaintiff that it was medically

necessary, and integral to effective treatment, for Plaintiff to submit to the sexual

abuse perpetrated by Archibald, when, in reality, the sole purpose of the abuse was



                                         22
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 23 of 40




Archibald’s own sexual gratification.

      141. Mr. Poppel attempted to masturbate. However, his arms were not long

enough to reach his penis, and he had to curl up into the fetal position in order to

reach his penis. It was humiliating.

      142. Archibald watched and took a photograph of Mr. Poppel attempting to

masturbate.

      143. Mr. Poppel was terrified. He had never masturbated before, and he

could not fully reach his penis with his short arms; and so he could only achieve a

partial erection.

      144. While Mr. Poppel continued to attempt to masturbate, Archibald went

and sat down at the cold, steel-framed desk, and waved his finger at Mr. Poppel,

gesturing for him to come closer. Mr. Poppel complied.

      145. Then Archibald picked up Mr. Poppel, who was still naked, and placed

him on his left leg.

      146. Knowing that Mr. Poppel was trusting and vulnerable—and only

eleven years old—Archibald used his position of authority to require Mr. Poppel to

fully disrobe for no reasonable medical purpose, engage in touching, fondling, and

groping of Mr. Poppel’s genitals, engage in nonconsensual sexual touching and

fondling of genital region for the purpose of sexual arousal, sexual gratification,



                                        23
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 24 of 40




and/or sexual abuse.

      147. Mr. Poppel was not able to provide Archibald with the semen sample

Archibald falsely represented that he needed to predict Mr. Poppel’s future height.

      148. Archibald carried out these acts without fully explaining the

“treatment” or obtaining informed consent of Mr. Poppel’s parents and other

members of the Class.

      149. All of Archibald’s acts were conducted under the guise of providing

medical care Rockefeller.

      150. The failure to give proper notice or to obtain consent for the purported

“treatment” from Class Plaintiffs negated their objection to reject the “treatment.”

      151. Archibald used his position of trust and confidence in an abusive

manner causing Mr. Poppel to suffer a variety of injuries including but not limited to

shock, humiliation, emotional distress and related physical manifestations thereof,

embarrassment, loss of self-esteem, disgrace, loss of enjoyment of life and negative

impacts on his life.

      152. Mr. Poppel was terrified, humiliated, and confused.

      153. He told Archibald that he wanted to leave the room and be with his

mother.

      154. Archibald told Mr. Poppel that he could not leave and continued engage



                                         24
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 25 of 40




in appropriate touching.

      155. This was Mr. Poppel’s first sexual experience.

      156. Mr. Poppel dressed and left the room.

      157. Mr. Poppel’s fear, humiliation, and confusion continued after he left the

examination room. He recalls feeling like he was going to die. He wanted to tell his

mother what had happened, but he could not.

      158. In addition to these feelings, Mr. Poppel recalls thinking, as his mother

drove him back to New Jersey, that he had failed and that his short stature could not

be solved or remedied because he could not complete the task Archibald had given

him. At the same time, however, Mr. Poppel instinctively knew that something very

wrong had happened.

      159. Archibald’s sexual abuse of Mr. Poppel robbed him of his childhood

innocence.

      160. Following his sexual abuse by Archibald, Mr. Poppel had trouble

concentrating in school and participating in normal activities.

      161. Mr. Poppel also suffered from diarrhea and irritable bowel syndrome

following the sexual abuse, he also had trouble sleeping, and he experienced severe

headaches and was in constant fear.

      162. Mr. Poppel was deathly afraid of returning to Rockefeller University



                                         25
         Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 26 of 40




Hospital.

        163. As a result of the sexual abuse he suffered, Mr. Poppel had difficulty

dating and forming relationships, especially intimate ones.

        164. The fear and difficulty forming relationships Mr. Poppel has suffered

from, as a result of his sexual abuse, has also made him emotionally unable to have

children of his own.

        165. All of these feelings and challenges remained, and he continued to

struggle with them, for many years. To this day, he struggles with lack of trust.

        166. In the years after his encounter with Archibald, Mr. Poppel sought to

move on with his life, moving to Florida and becoming a lawyer.

        167. Nonetheless, Mr. Poppel never forgot about the sexual abuse, and he is

reminded of the sexual abuse frequently, including whenever he sees the Rockefeller

name.

        168. To this day, Mr. Poppel is extremely nervous and anxious around

doctors. His heart rate increases and his blood pressure elevates around doctors, and

he cannot see doctors without taking anxiety medication.

        169. Mr. Poppel still has nightmares in which he relives the encounter with

Archibald, except that further events occur, and Archibald wakes up shortly before

Archibald rapes him.



                                         26
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 27 of 40




      170. As a direct result of the sexual abuse, Mr. Poppel has also struggled

throughout his life with anxiety, depression, and, at times, self-medicating behavior.

      171. All of these symptoms are consistent with post-traumatic stress

disorder.

      172. Mr. Poppel also worries about the photos Archibald took of him. He

does not know their current whereabouts. He is haunted by the thought that other

people have seen them or that they will appear on the internet.

      173. Mr. Poppel worries that his photo is in one of the journal articles

Archibald published.

      174. Upon information and belief, despite complaints to Rockefeller

representatives, the concerns and allegations went unaddressed in violation of

reporting policies and procedures and in a manner that was reckless, deliberately

indifferent, and grossly negligent.

      175. On Saturday evening, October 6, 2018, Mr. Poppel received the Letter

from Rockefeller.

      176. Plaintiff saw Rockefeller identified in the return address and knew

immediately the communication pertained to Archibald’s abuse.

      177. By this time, Mr. Poppel had had no contact with Rockefeller

University Hospital since about 1980.



                                         27
       Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 28 of 40




      178. Mr. Poppel was immediately shocked by the Letter. His heart dropped

when he saw Rockefeller in the return address and he was filled with anxiety when

he read the Letter’s contents confirming that it was about Archibald.

      179. The Letter immediately brought Archibald’s sexual abuse of Mr.

Poppel to the forefront of his mind, and it forced Mr. Poppel to relive the encounter

over, and over again.

      180. The Letter gave the immediate impression that Archibald may have

sexually abused a significant number of children. Mr. Poppel had no idea that

Archibald had molested other children before reading the Letter.

      181. It was infuriating for Mr. Poppel to realize that he had been part of a

factory of abuse.

      182. As a result of receiving and reading Defendant Rockefeller’s letter, Mr.

Poppel was forced to recall his sexual abuse by Archibald, and he suffered and

continues to suffer severe emotional distress.

      183. Rockefeller’s sending of the Letter robbed Mr. Poppel of the right to

process the issues stemming from Archibald’s sexual abuse of him on his own

timetable. Mr. Poppel has been infuriated by this fact.

      184. Mr. Poppel was unable to sleep at all on the night of Saturday, October

6, 2018. He was unable to sleep the following night, Sunday, October 7, 2018.



                                         28
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 29 of 40




      185. For weeks afterward, Mr. Poppel was unable to sleep through the night

completely and even today continues to struggle with sleep.

      186. Mr. Poppel’s inability to sleep completely through the night began to

affect his work.

      187. Prior to receiving the Letter, Mr. Poppel had never told anyone that he

was sexually abused by Archibald.

      188. Eventually, Mr. Poppel’s stress and inability to sleep became apparent

to his family and his girlfriend, whom he considers his life partner and with whom he

has lived together for more than a decade.

      189. Mr. Poppel told his partner. She was horrified.

      190. Mr. Poppel told his mother, who was horrified.

      191. Mr. Poppel’s mother told him she blamed herself, because she recalled

objecting to Archibald’s not allowing her to be in the examination room with him. In

addition, she recalled his insistence that a nurse would be in the room at all times.

Moreover, she recalled acquiescing, and watching her son disappear behind the door

of the examination room.

      192. Mr. Poppel told his father, who was horrified.

      193. Mr. Poppel told his stepdaughter, who was horrified.

      194. Mr. Poppel also emailed Helen Cantwell at the contact information



                                         29
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 30 of 40




provided in Rockefeller’s Letter.

      195. He asked her several questions, including “what exactly will

[Rockefeller] do with the information I can provide about [Archibald] and what he

did to me, what he made me do (and robbing my youthful innocence in the

process)?” and “what’s the reason [Rockefeller] has sought me out after all these

years?” Mr. Poppel also expressed that he never expected the traumatic experience

he suffered as a child to come back so acutely, nearly half a century later.

      196. Ms. Cantwell did not respond to these questions.

      197. Nor did Ms. Cantwell provide any information as to whether

Rockefeller would segregate and remove identification from any information Mr.

Poppel provided to her.

      198. This gave Mr. Poppel the immediate impression that Rockefeller’s

effort to reach out to him and other former patients of Archibald was in reality an

effort to gather information about potential future plaintiffs in litigation against the

Hospital.

      199. Mr. Poppel also inquired how he could obtain his medical records from

Rockefeller.

      200. Ms. Cantwell did not respond to that request either.

      201. Mr. Poppel also demanded that any records pertaining to him be



                                          30
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 31 of 40




preserved.

      202. Ms. Cantwell did not respond to this demand either.

VI.   CLASS ALLEGATIONS

      203. Plaintiff seeks relief under Federal Rule of Procedure 23(b)(3) on

behalf of a class of similarly situated individuals, who were patients of, and abused

by Archibald, and who received a Letter from Defendant Rockefeller.

      204. Plaintiff is representative of a class of similarly situated individuals that

includes persons who were sexually abused by Archibald at the Hospital, and

subsequently received a Letter from Rockefeller in the fall of 2018 seeking

information about Archibald’s abuse.

      205. Plaintiff’s claims individually, and the Class’s claims in the aggregate,

exceed $5,000,000 exclusive of interests and costs.

      206. The members of the Class are so numerous that joinder of all members

is impractical.

      207. Defendant Rockefeller sent Letters to more than 1,000 former patients

of Archibald.

      208. Individual litigation by each member of the Class would be impractical

and place an undue burden on the judicial system.

      209. The prosecution of individual actions by the members of the Class



                                          31
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 32 of 40




would create a risk of inconsistent adjudications and legal precedent.

      210. Plaintiff’s and Class members’ claims raise common questions of law

and fact, including but not limited to the following:

             a. Whether Defendant Rockefeller had a duty to avoid causing the

                recipients of its Letter emotional distress;

             b. Whether there was an especial likelihood that the Letter would

                cause a significant portion of the recipients to suffer genuine and

                serious mental anguish and emotional distress;

             c. Whether Rockefeller had a duty to refrain from sending the Letter to

                survivors of child sexual abuse at all;

             d. Whether Rockefeller’s conduct in sending the Letter to victims of

                sexual abuse who, at the time they received the Letter, believed they

                had no legal recourse for the sexual abuse they endured, was

                extreme and outrageous;

             e. Whether Rockefeller acted negligently;

             f. Whether Rockefeller was reckless and disregarded a substantial

                probability that the Letter would cause severe emotional distress by

                reopening the wounds of the victims of Archibald’s sexual abuse;

             g. Whether Defendant Rockefeller acted unreasonably by sending its



                                         32
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 33 of 40




                 Letter to more than 1,000 former patients of the Hospital who it

                 believed to be survivors of child sexual abuse and who, at that time,

                 had no legal recourse for the sexual abuse they suffered; and

             h. Whether Rockefeller’s Letter intruded upon its former patient’s

                 seclusion in a way that was highly offensive.

      211. The common issues of law and fact predominate over potential

individual issues in the litigation.

      212. To the extent that there are individual issues regarding emotional

distress and other damages with respect to Rockefeller’s Letter to Archibald’s

victims, the common issues of law and fact identified above could still be treated as

a class pursuant to Rule 23(c)(4).

      213. The claims of Plaintiff are typical of the Class.

      214. Plaintiff will fairly and adequately represent the interests of the Class

because his interests align with the Class and do not conflict with the interests of

other Class members.

      215. The attorneys representing Plaintiff are experienced in representing

children who have suffered lifelong injuries, as well as representing plaintiffs in

class actions and mass tort litigations.

      216. Prosecuting claims as a class action against Rockefeller with respect to



                                           33
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 34 of 40




its Letter is superior to prosecuting them individually.

VI.   CAUSES OF ACTION

                     COUNT I (CLASS CLAIM)4:
          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                AGAINST DEFENDANT ROCKEFELLER
      217. Plaintiff re-alleges and incorporates by reference the allegations

contained in all prior paragraphs as if fully stated in this Count.

      218. Defendant Rockefeller’s conduct in sending the Letter to victims of

sexual abuse who, at the time they received the Letter, believed they had no legal

recourse for the sexual abuse they endured, was extreme and outrageous.

      219. Defendant Rockefeller was reckless and disregarded a substantial

probability that the Letter would cause severe emotional distress by reopening the

wounds of the victims of Archibald’s sexual abuse.

      220. Defendant Rockefeller’s conduct in sending the Letter in fact caused,


      4
         Plaintiff is currently 54 years of age and believes that the unambiguous
language of section 2 of the Child Victims Act permits him to bring individualized
claims, immediately. However, Plaintiff acknowledges that Section 3 of the Child
Victims Act “revive[s]” claims that were “barred as of the effective date of this
section.” While Plaintiff does not expect Defendants to seek dismissal of any claims
made timely by virtue of the Child Victims Act, he has chosen to wait six months
from the date on which the Child Victims Act is signed into law to bring
individualized claims against the Estate of Reginald Archibald and Rockefeller, by
way of amendment, for: 1. Sexual Abuse; 2. Assault; 3. Battery; 4. Fraud; 5. False
Imprisonment; 6. Medical Malpractice; 7. Negligent Hiring, Supervision and
Retention; 8. Vicarious Liability; 9. Gross Negligence; and 10. Punitive Damages.


                                          34
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 35 of 40




and was the proximate cause of, severe emotional distress, trauma, and mental

anguish.

      221. Plaintiff suffered severe emotional distress when he read Defendant

Rockefeller’s Letter.

      222. Defendant Rockefeller’s Letter forced Plaintiff to relive the sexual

abuse he suffered at the hands of Archibald.

      223. Plaintiff could not sleep well for weeks after receiving the Letter.

Plaintiff also suffered from irritable bowel syndrome and diarrhea.

      224. As a direct and proximate result of the above-described conduct,

Plaintiff has suffered and will continue to suffer great pain of mind and body, shock,

emotional distress, permanent disability, physical manifestations of emotional

distress including embarrassment, loss of self-esteem, disgrace, humiliations, and

loss of enjoyment of life; was prevented and will continue to be prevented from

performing daily activities and obtaining the full enjoyment of life; has sustained

and will continue to sustain loss of earnings and earning capacity; and has incurred

and will continue to incur expenses for medical and psychological treatment,

therapy, and counseling.

      225. Plaintiff and all similarly situated individuals are entitled to monetary

relief, in the form of compensatory damages, to remedy the severe emotional



                                         35
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 36 of 40




distress suffered because of Defendant Rockefeller’s outrageous conduct.

      226. The conduct of Defendant Rockefeller was both reckless and

outrageous, entitling Plaintiff to an award of punitive damages.

                    COUNT II (CLASS CLAIM):
          NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
               AGAINST DEFENDANT ROCKEFELLER

      227. Plaintiff re-alleges and incorporates by reference the allegations

contained in all prior paragraphs as if fully stated in this Count.

      228. Rockefeller University had a duty to avoid causing the recipients of its

Letter to suffer emotional distress and to avoid re-traumatizing victims of child

sexual abuse by forcing them to relive their abuse when reading the Letter.

      229. The recipients of Defendant Rockefeller’s Letter were former patients

of the Hospital, whom it had reason to believe were former patients and possible

victims of Archibald.

      230. It was thus apparent that there was an especial likelihood that the Letter

would cause a significant portion of the recipients to suffer genuine and serious

mental anguish and emotional distress.

      231. Additionally, Defendant Rockefeller did not obtain an authorization

from former patients of Archibald for any use or disclosure of protected health

information for marketing, and had a duty not to contact them for marketing purpose



                                          36
          Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 37 of 40




without obtaining authorization.

      232. Rockefeller acted unreasonably and breached its duty by sending the

Letter.

      233. Receipt of the Letter in fact caused and was the proximate cause of

severe emotional distress, trauma, and mental anguish.

      234. Because of the emotional distress, Plaintiff suffered physical injuries

that manifested in the form of an inability to sleep, irritable bowel syndrome, and

diarrhea.

      235. As a direct and proximate result of the above-described conduct,

Plaintiff has suffered and will continue to suffer great pain of mind and body, shock,

emotional distress, permanent disability, physical manifestations of emotional

distress including embarrassment, loss of self-esteem, disgrace, humiliations, and

loss of enjoyment of life; was prevented and will continue to be prevented from

performing daily activities and obtaining the full enjoyment of life; has sustained

and will continue to sustain loss of earnings and earning capacity; and has incurred

and will continue to incur expenses for medical and psychological treatment,

therapy, and counseling.

      236. Plaintiff and all similarly situated individuals who received the Letter

are entitled to monetary relief, in the form of compensatory damages, to remedy the



                                         37
        Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 38 of 40




severe emotional distress they suffered because of Defendant Rockefeller’s

outrageous conduct.

      237. The conduct of Defendant Rockefeller was both reckless and

outrageous, entitling Plaintiff to an award of punitive damages.

                        COUNT III (CLASS CLAIM):
                      INTRUSION UPON SECLUSION
                   AGAINST DEFENDANT ROCKEFELLER
      238. Plaintiff re-alleges and incorporates by reference the allegations

contained in all prior paragraphs as if fully stated in this Count.

      239. Defendant Rockefeller intentionally sent a Letter to Plaintiff.

      240. The Letter was received in Plaintiff’s private quarters.

      241. Through its Letter, Rockefeller intruded upon the solitude, seclusion,

and private affairs and concerns of Plaintiff.

      242. When it sent the Letter to Plaintiff, Defendant Rockefeller knew there

was substantial likelihood that Plaintiff had been sexually abused by Archibald, and

that the Letter could re-traumatize Plaintiff, causing severe emotional distress.

      243. Accordingly, Defendant Rockefeller University Hospital’s intrusion by

sending the Letter to Plaintiff is highly offensive.

      244. As a direct and proximate result of the above-described conduct,

Plaintiff has suffered and will continue to suffer great pain of mind and body, shock,

emotional distress, permanent disability, physical manifestations of emotional

                                          38
       Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 39 of 40




distress including embarrassment, loss of self-esteem, disgrace, humiliations, and

loss of enjoyment of life; was prevented and will continue to be prevented from

performing daily activities and obtaining the full enjoyment of life; has sustained

and will continue to sustain loss of earnings and earning capacity; and has incurred

and will continue to incur expenses for medical and psychological treatment,

therapy, and counseling.

      245. Plaintiff and all similarly situated individuals who received the Letter

are entitled to monetary relief, in the form of compensatory damages, to remedy the

severe emotional distress they suffered because of Defendant’s outrageous conduct.

      246. The conduct of Defendant Rockefeller was both reckless and

outrageous, entitling Plaintiff to an award of punitive damages.

                             RELIEF REQUESTED

      WHEREFORE, Plaintiff requests that judgment be entered against

Defendants, ordering:

      a. Defendants be enjoined from further violations of Plaintiffs’ rights;

      b. Certification of a Class under Federal Rule of Civil Procedure 23(b)(3) of

         all persons who were sexually abused by Archibald and then received the

         Letter from Rockefeller;




                                        39
       Case 1:19-cv-01403-ALC Document 7 Filed 02/14/19 Page 40 of 40




      c. Plaintiffs are awarded compensatory, punitive, and exemplary damages for

         past and future pain and suffering and past and future emotional distress

         and mental anguish;

      d. Defendants pay for the costs of future counseling, therapy, and medical

         treatment related to the injuries described above;

      e. Plaintiffs are awarded pre-judgment and post-judgment interest;

      f. Defendants pay Plaintiff’s reasonable costs and attorneys’ fees; and

      g. All other relief the court deems necessary and equitable.

                                JURY DEMAND

      A trial by jury is hereby demanded.

Dated: February 13, 2019.

                                                   LEVY KONIGSBERG, LLP


                                             By:   /S/ COREY M. STERN
                                                   Corey M. Stern
                                                   cstern@levylaw.com
                                                   Renner K. Walker
                                                   rwalker@levylaw.com
                                                   800 Third Ave., 11th Floor
                                                   New York, NY 10022
                                                   Phone: (212) 605-6200
                                                   Fax: (212) 605-6290

                                                   Attorneys for the Plaintiff and
                                                   Putative Class




                                        40
